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                    THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
______________________________________
                                        §
JOSHUA CACHO,                           §
                                        §
                        Plaintiff,      §
                                        §
            v.                          §
                                        §
TOBIAS & ASSOCIATES, INC.,              §    6:23-CV-00152-CEM-LHP
                                        §
                             Defendant. §
______________________________________  §



               PLAINTIFF’S NOTICE OF SETTLEMENT IN PRINCIPLE
                      AND MOTION TO VACATE ALL DEADLINES
The Plaintiff and Defendant TOBIAS & ASSOCIATES, INC., respectfully notify the Court
that the parties have agreed in principle to settle the above-captioned matter. Plaintiff and
the Defendant are in the process of preparing and finalizing the Settlement Agreement and
Stipulated Dismissal (“Agreement”). Accordingly, Plaintiff respectfully requests that the
Court vacate all deadlines for Defendant TOBIAS & ASSOCIATES, INC., related to the
above-captioned matter and allow 21 days to submit the Stipulated Dismissal.



February 14, 2023,                            Respectfully submitted,




                                              Joshua Cacho
                                              Plaintiff, Pro Se
                                              164 Estella Road
                                              Lake Mary, Florida 32746
                                              407-577-3881
                                              jcacho1848@gmail.com
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                    THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
______________________________________
                                        §
JOSHUA CACHO,                           §
                                        §
                        Plaintiff,      §
                                        §
            v.                          §
                                        §
TOBIAS & ASSOCIATES, INC.,              §    6:23-CV-00152-CEM-LHP
                                        §
                             Defendant. §
______________________________________  §
                                        §

                                   [PROPOSED] ORDER

      Upon consideration of Plaintiff’s Notice of Settlement, it is this, _______ day of

________, 2023,

      ORDERED that Plaintiff’s Notice of Settlement be and is hereby GRANTED;




SO ORDERED

                                            ________________________

                                            United States District Judge
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                    THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
______________________________________
                                        §
JOSHUA CACHO,                           §
                                        §
                        Plaintiff,      §
                                        §
            v.                          §
                                        §
TOBIAS & ASSOCIATES, INC.,              §    6:23-CV-00152-CEM-LHP
                                        §
                             Defendant. §
______________________________________  §
                                        §



                               CERTIFICATE OF SERVICE

I hereby certify that on February 14, 2023, I caused a true copy of the foregoing, PLAINTIFF’S
NOTICE OF SETTLEMENT to be served via electronic mail to Defendant.




Dated February 14, 2023,                   Respectfully Submitted,




                                           Joshua Cacho
                                           Plaintiff, Pro Se
                                           164 Estella Road
                                           Lake Mary, Florida 32746
                                           407-577-3881
                                           jcacho1848@gmail.com
